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                                     APPENDIX 3
     Select List of Copyright Registrations – Plaintiff Dow Jones & Company, Inc.

                                                                 PUBLICATION
COPYRIGHT                                  AUTHOR OF              DATES FOR
                 TITLE OF WORK
 REG. NO.                                    WORK                REGISTERED
                                                                   CONTENT
                                           Dow Jones &
TX 6-772-937   The Wall Street Journal     Company, Inc.     January 1 - 31, 2011
                                           Dow Jones &
TX 6-776-272   The Wall Street Journal     Company, Inc.     February 1 - 28, 2011
                                           Dow Jones &
TX 6-776-203   The Wall Street Journal     Company, Inc.     March 1 - 31, 2011
                                           Dow Jones &
TX 6-776-155   The Wall Street Journal     Company, Inc.     April 1 - 30, 2011
                                           Dow Jones &
TX 6-779-043   The Wall Street Journal     Company, Inc.     May 1 - 31, 2011
                                           Dow Jones &
TX 6-779-102   The Wall Street Journal     Company, Inc.     June 1 - 30, 2011
                                           Dow Jones &
TX 6-790-065   The Wall Street Journal     Company, Inc.     July 1 - 31, 2011
                                           Dow Jones &
TX 6-573-139   The Wall Street Journal     Company, Inc.     August 1 - 31, 2011
                                           Dow Jones &
TX 6-787-594   The Wall Street Journal     Company, Inc.     September 1 - 30, 2011
                                           Dow Jones &
TX 6-573-130   The Wall Street Journal     Company, Inc.     October 1 - 31, 2011
                                           Dow Jones &
TX 6-788-044   The Wall Street Journal     Company, Inc.     November 1 - 30, 2011
                                           Dow Jones &
TX 6-573-133   The Wall Street Journal     Company, Inc.     December 1 - 31, 2011
                                           Dow Jones &
TX 6-789-325   The Wall Street Journal     Company, Inc.     January 1 - 31, 2012
                                           Dow Jones &
TX 6-789-372   The Wall Street Journal     Company, Inc.     February 1 - 29, 2012
                                           Dow Jones &
TX 6-790-184   The Wall Street Journal     Company, Inc.     March 1 - 31, 2012
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                                          Dow Jones &
TX 6-788-787   The Wall Street Journal    Company, Inc.     April 1 - 30, 2012
                                          Dow Jones &
TX 6-790-150   The Wall Street Journal    Company, Inc.     May 1 - 31, 2012
                                          Dow Jones &
TX 6-612-272   The Wall Street Journal    Company, Inc.     June 1 - 30, 2012
                                          Dow Jones &
TX 6-573-085   The Wall Street Journal    Company, Inc.     July 1 - 31, 2012
                                          Dow Jones &
TX 6-573-046   The Wall Street Journal    Company, Inc.     August 1 - 31, 2012
                                          Dow Jones &
TX 6-573-051   The Wall Street Journal    Company, Inc.     September 1 - 30, 2012
                                          Dow Jones &
TX 7-754-940   The Wall Street Journal    Company, Inc.     October 1 - 31, 2012
                                          Dow Jones &
TX 7-913-047   The Wall Street Journal    Company, Inc.     November 1 - 30, 2012
                                          Dow Jones &
TX 7-724-945   The Wall Street Journal    Company, Inc.     December 1 - 31, 2012
                                          Dow Jones &
TX 7-778-682   The Wall Street Journal    Company, Inc.     January 1 - 31, 2013
                                          Dow Jones &
TX 8-065-069   The Wall Street Journal    Company, Inc.     February 1 - 28, 2013
                                          Dow Jones &
TX 7-902-530   The Wall Street Journal    Company, Inc.     March 1 - 31, 2013
                                          Dow Jones &
TX 7-781-368   The Wall Street Journal    Company, Inc.     April 1 - 30, 2013
                                          Dow Jones &
TX 7-878-865   The Wall Street Journal    Company, Inc.     May 1 - 31, 2013
                                          Dow Jones &
TX 7-761-598   The Wall Street Journal    Company, Inc.     June 1 - 30, 2013
                                          Dow Jones &
TX 8-515-851   The Wall Street Journal    Company, Inc.     July 1 - 31, 2013
                                          Dow Jones &
TX 7-883-809   The Wall Street Journal    Company, Inc.     August 1 - 31, 2013



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                                          Dow Jones &
TX 7-881-754   The Wall Street Journal    Company, Inc.     September 1 - 30, 2013
                                          Dow Jones &
TX 7-901-390   The Wall Street Journal    Company, Inc.     October 1 - 31, 2013
                                          Dow Jones &
TX 7-972-130   The Wall Street Journal    Company, Inc.     November 1 - 30, 2013
                                          Dow Jones &
TX 7-900-559   The Wall Street Journal    Company, Inc.     December 1 - 31, 2013
                                          Dow Jones &
TX 8-001-588   The Wall Street Journal    Company, Inc.     January 1 - 31, 2014
                                          Dow Jones &
TX 7-974-549   The Wall Street Journal    Company, Inc.     February 1 - 28, 2014
                                          Dow Jones &
TX 7-945-932   The Wall Street Journal    Company, Inc.     March 1 - 31, 2014
                                          Dow Jones &
TX 7-928-162   The Wall Street Journal    Company, Inc.     April 1 - 30, 2014
                                          Dow Jones &
TX 7-967-449   The Wall Street Journal    Company, Inc.     May 1 - 31, 2014
                                          Dow Jones &
TX 7-966-040   The Wall Street Journal    Company, Inc.     June 1 - 30, 2014
                                          Dow Jones &
TX 8-064-334   The Wall Street Journal    Company, Inc.     July 1 - 31, 2014
                                          Dow Jones &
TX 8-070-670   The Wall Street Journal    Company, Inc.     August 1 - 31, 2014
                                          Dow Jones &
TX 8-084-829   The Wall Street Journal    Company, Inc.     September 1 - 30, 2014
                                          Dow Jones &
TX 8-107-876   The Wall Street Journal    Company, Inc.     October 1 - 31, 2014
                                          Dow Jones &
TX 8-146-666   The Wall Street Journal    Company, Inc.     November 1 - 30, 2014
                                          Dow Jones &
TX 8-111-146   The Wall Street Journal    Company, Inc.     December 1 - 31, 2014
                                          Dow Jones &
TX 8-186-011   The Wall Street Journal    Company, Inc.     January 1 - 31, 2015



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                                          Dow Jones &
TX 8-063-617   The Wall Street Journal    Company, Inc.     February 1 - 28, 2015
                                          Dow Jones &
TX 8-161-998   The Wall Street Journal    Company, Inc.     March 1 - 31, 2015
                                          Dow Jones &
TX 8-162-004   The Wall Street Journal    Company, Inc.     April 1 - 30, 2015
                                          Dow Jones &
TX 8-180-741   The Wall Street Journal    Company, Inc.     May 1 - 31, 2015
                                          Dow Jones &
TX 8-183-720   The Wall Street Journal    Company, Inc.     June 1 - 30, 2015
                                          Dow Jones &
TX 8-233-067   The Wall Street Journal    Company, Inc.     July 1 - 31, 2015
                                          Dow Jones &
TX 8-227-334   The Wall Street Journal    Company, Inc.     August 1 - 31, 2015
                                          Dow Jones &
TX 8-240-498   The Wall Street Journal    Company, Inc.     September 1 - 30, 2015
                                          Dow Jones &
TX 8-240-824   The Wall Street Journal    Company, Inc.     October 1 - 31, 2015
                                          Dow Jones &
TX 8-255-926   The Wall Street Journal    Company, Inc.     November 1 - 30, 2015
                                          Dow Jones &
TX 8-268-582   The Wall Street Journal    Company, Inc.     December 1 - 31, 2015
                                          Dow Jones &
TX 8-263-519   The Wall Street Journal    Company, Inc.     January 1 - 31, 2016
                                          Dow Jones &
TX 8-268-646   The Wall Street Journal    Company, Inc.     February 1 - 29, 2016
                                          Dow Jones &
TX 8-264-106   The Wall Street Journal    Company, Inc.     March 1 - 31, 2016
                                          Dow Jones &
TX 8-337-793   The Wall Street Journal    Company, Inc.     April 1 - 30, 2016
                                          Dow Jones &
TX 8-315-702   The Wall Street Journal    Company, Inc.     May 1 - 31, 2016
                                          Dow Jones &
TX 8-315-431   The Wall Street Journal    Company, Inc.     June 1 - 30, 2016



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                                          Dow Jones &
TX 8-309-075   The Wall Street Journal    Company, Inc.     July 1 - 31, 2016
                                          Dow Jones &
TX 8-282-498   The Wall Street Journal    Company, Inc.     August 1 - 31, 2016
                                          Dow Jones &
TX 8-285-190   The Wall Street Journal    Company, Inc.     September 1 - 30, 2016
                                          Dow Jones &
TX 8-363-355   The Wall Street Journal    Company, Inc.     October 1 - 31, 2016
                                          Dow Jones &
TX 8-352-407   The Wall Street Journal    Company, Inc.     November 1 - 30, 2016
                                          Dow Jones &
TX 8-371-327   The Wall Street Journal    Company, Inc.     December 1 - 31, 2016
                                          Dow Jones &
TX 8-382-178   The Wall Street Journal    Company, Inc.     January 1 - 31, 2017
                                          Dow Jones &
TX 8-382-262   The Wall Street Journal    Company, Inc.     February 1 - 28, 2017
                                          Dow Jones &
TX 8-396-879   The Wall Street Journal    Company, Inc.     March 1 - 31, 2017
                                          Dow Jones &
TX 8-462-153   The Wall Street Journal    Company, Inc.     April 1 - 30, 2017
                                          Dow Jones &
TX 8-457-158   The Wall Street Journal    Company, Inc.     May 1 - 31, 2017
                                          Dow Jones &
TX 8-472-157   The Wall Street Journal    Company, Inc.     June 1 - 30, 2017
                                          Dow Jones &
TX 8-472-308   The Wall Street Journal    Company, Inc.     July 1 - 31, 2017
                                          Dow Jones &
TX 8-492-464   The Wall Street Journal    Company, Inc.     August 1 - 31, 2017
                                          Dow Jones &
TX 8-475-806   The Wall Street Journal    Company, Inc.     September 1 - 30, 2017
                                          Dow Jones &
TX 8-492-559   The Wall Street Journal    Company, Inc.     October 1 - 31, 2017
                                          Dow Jones &
TX 8-572-165   The Wall Street Journal    Company, Inc.     November 1 - 30, 2017



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                                          Dow Jones &
TX 8-572-020   The Wall Street Journal    Company, Inc.     December 1 - 31, 2017
                                          Dow Jones &
TX 8-532-080   The Wall Street Journal    Company, Inc.     January 1 - 31, 2018
                                          Dow Jones &
TX 8-532-122   The Wall Street Journal    Company, Inc.     February 1 - 28, 2018
                                          Dow Jones &
TX 8-547-957   The Wall Street Journal    Company, Inc.     March 1 - 31, 2018
                                          Dow Jones &
TX 8-575-789   The Wall Street Journal    Company, Inc.     April 1 - 30, 2018
                                          Dow Jones &
TX 8-575-812   The Wall Street Journal    Company, Inc.     May 1 - 31, 2018
                                          Dow Jones &
TX 8-603-760   The Wall Street Journal    Company, Inc.     June 1 - 30, 2018
                                          Dow Jones &
TX 8-620-394   The Wall Street Journal    Company, Inc.     July 1 - 31, 2018
                                          Dow Jones &
TX 8-728-043   The Wall Street Journal    Company, Inc.     August 1 - 31, 2018
                                          Dow Jones &
TX 8-731-463   The Wall Street Journal    Company, Inc.     September 1 - 30, 2018
                                          Dow Jones &
TX 8-731-499   The Wall Street Journal    Company, Inc.     October 1 - 31, 2018
                                          Dow Jones &
TX 8-714-582   The Wall Street Journal    Company, Inc.     November 1 - 30, 2018
                                          Dow Jones &
TX 8-733-860   The Wall Street Journal    Company, Inc.     December 1 - 31, 2018
                                          Dow Jones &
TX 8-733-871   The Wall Street Journal    Company, Inc.     January 1 - 31, 2019
                                          Dow Jones &
TX 8-733-892   The Wall Street Journal    Company, Inc.     February 1 - 28, 2019
                                          Dow Jones &
TX 8-733-894   The Wall Street Journal    Company, Inc.     March 1 - 31, 2019
                                          Dow Jones &
TX 8-733-896   The Wall Street Journal    Company, Inc.     April 1 - 30, 2019



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                                          Dow Jones &
TX 8-733-764   The Wall Street Journal    Company, Inc.     May 1 - 31, 2019
                                          Dow Jones &
TX 8-801-928   The Wall Street Journal    Company, Inc.     June 1 - 30, 2019
                                          Dow Jones &
TX 8-806-104   The Wall Street Journal    Company, Inc.     July 1 - 31, 2019
                                          Dow Jones &
TX 8-804-085   The Wall Street Journal    Company, Inc.     August 1 - 31, 2019
                                          Dow Jones &
TX 8-821-692   The Wall Street Journal    Company, Inc.     September 1 - 30, 2019
                                          Dow Jones &
TX 8-825-743   The Wall Street Journal    Company, Inc.     October 1 - 31, 2019
                                          Dow Jones &
TX 8-828-693   The Wall Street Journal    Company, Inc.     November 1 - 30, 2019
                                          Dow Jones &
TX 8-832-446   The Wall Street Journal    Company, Inc.     December 1 - 31, 2019
                                          Dow Jones &
TX 8-861-412   The Wall Street Journal    Company, Inc.     January 1 - 31, 2020
                                          Dow Jones &
TX 8-861-444   The Wall Street Journal    Company, Inc.     February 1 - 29, 2020
                                          Dow Jones &
TX 8-865-172   The Wall Street Journal    Company, Inc.     March 1 - 31, 2020
                                          Dow Jones &
TX 8-876-066   The Wall Street Journal    Company, Inc.     April 1 - 30, 2020
                                          Dow Jones &
TX 8-884-860   The Wall Street Journal    Company, Inc.     May 1 - 31, 2020
                                          Dow Jones &
TX 8-887-049   The Wall Street Journal    Company, Inc.     June 1 - 30, 2020
                                          Dow Jones &
TX 8-890-449   The Wall Street Journal    Company, Inc.     July 1 - 31, 2020
                                          Dow Jones &
TX 8-905-967   The Wall Street Journal    Company, Inc.     August 1 - 31, 2020
                                          Dow Jones &
TX 8-909-398   The Wall Street Journal    Company, Inc.     September 1 - 30, 2020



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                                          Dow Jones &
TX 8-917-986   The Wall Street Journal    Company, Inc.     October 1 - 31, 2020
                                          Dow Jones &
TX 8-923-064   The Wall Street Journal    Company, Inc.     November 1 - 30, 2020
                                          Dow Jones &
TX 8-931-099   The Wall Street Journal    Company, Inc.     December 1 - 31, 2020
                                          Dow Jones &
TX 8-939-452   The Wall Street Journal    Company, Inc.     January 1 - 31, 2021
                                          Dow Jones &
TX 8-950-348   The Wall Street Journal    Company, Inc.     February 2 - 28, 2021
                                          Dow Jones &
TX 8-960-365   The Wall Street Journal    Company, Inc.     March 3 - 31, 2021
                                          Dow Jones &
TX 8-969-760   The Wall Street Journal    Company, Inc.     April 4 - 30, 2021
                                          Dow Jones &
TX 8-982-488   The Wall Street Journal    Company, Inc.     May 5 - 31, 2021
                                          Dow Jones &
TX 8-994-124   The Wall Street Journal    Company, Inc.     June 6 - 30, 2021
                                          Dow Jones &
TX 9-005-284   The Wall Street Journal    Company, Inc.     July 7 - 31, 2021
                                          Dow Jones &
TX 9-029-680   The Wall Street Journal    Company, Inc.     August 8 - 31, 2021
                                          Dow Jones &
TX 9-063-457   The Wall Street Journal    Company, Inc.     September 9 - 30, 2021
                                          Dow Jones &
TX 9-075-551   The Wall Street Journal    Company, Inc.     October 10 - 31, 2021
                                          Dow Jones &
TX 9-101-402   The Wall Street Journal    Company, Inc.     November 11 - 30, 2021
                                          Dow Jones &
TX 9-118-123   The Wall Street Journal    Company, Inc.     December 12 - 31, 2021
                                          Dow Jones &
TX 9-127-443   The Wall Street Journal    Company, Inc.     January 1 - 31, 2022
                                          Dow Jones &
TX 9-138-707   The Wall Street Journal    Company, Inc.     February 1 - 28, 2022



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                                          Dow Jones &
TX 9-144-721   The Wall Street Journal    Company, Inc.    March 1 - 31, 2022
                                          Dow Jones &
TX 9-153-361   The Wall Street Journal    Company, Inc.    April 1 - 30, 2022
                                          Dow Jones &
TX 9-166-864   The Wall Street Journal    Company, Inc.    May 1 - 31, 2022
                                          Dow Jones &
TX 9-172-728   The Wall Street Journal    Company, Inc.    June 1 - 30, 2022
                                          Dow Jones &
TX 9-184-584   The Wall Street Journal    Company, Inc.    July 1 - 31, 2022
                                          Dow Jones &
TX 9-191-556   The Wall Street Journal    Company, Inc.    August 1 - 31, 2022
                                          Dow Jones &
TX 9-206-358   The Wall Street Journal    Company, Inc.    September 1 - 30, 2022
                                          Dow Jones &
TX 9-222-534   The Wall Street Journal    Company, Inc.    October 1 - 31, 2022
                                          Dow Jones &
TX 9-250-654   The Wall Street Journal    Company, Inc.    November 1 - 30, 2022
                                          Dow Jones &
TX 9-261-204   The Wall Street Journal    Company, Inc.    December 1 - 31, 2022
                                          Dow Jones &
TX 9-269-858   The Wall Street Journal    Company, Inc.    January 1 - 31, 2023
                                          Dow Jones &
TX 9-274-182   The Wall Street Journal    Company, Inc.    February 1 - 28, 2023
                                          Dow Jones &
TX 9-283-585   The Wall Street Journal    Company, Inc.    March 1 - 31, 2023
                                          Dow Jones &
TX 9-284-146   The Wall Street Journal    Company, Inc.    April 1 - 30, 2023
                                          Dow Jones &
TX 9-293-610   The Wall Street Journal    Company, Inc.    May 1 - 31, 2023
                                          Dow Jones &
TX 9-301-320   The Wall Street Journal    Company, Inc.    June 1 - 30, 2023
                                          Dow Jones &
TX 9-306-353   The Wall Street Journal    Company, Inc.    July 1 - 31, 2023



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                                          Dow Jones &
TX 9-318-430   The Wall Street Journal    Company, Inc.   August 1 - 31, 2023
                                          Dow Jones &
TX 9-331-047   The Wall Street Journal    Company, Inc.   September 1 - 30, 2023
                                          Dow Jones &
TX 9-334-443   The Wall Street Journal    Company, Inc.   October 1 - 31, 2023
                                          Dow Jones &
TX 9-342-557   The Wall Street Journal    Company, Inc.   November 1 - 30, 2023
                                          Dow Jones &
TX 9-360-514   The Wall Street Journal    Company, Inc.   December 1 - 31, 2023
                                          Dow Jones &
TX 9-373-646   The Wall Street Journal    Company, Inc.   January 1 - 31, 2024
                                          Dow Jones &
TX 9-382-425   The Wall Street Journal    Company, Inc.   February 1 - 29, 2024
                                          Dow Jones &
TX 9-392-192   The Wall Street Journal    Company, Inc.   March 1 - 31, 2024
                                          Dow Jones &
TX 9-408-932   The Wall Street Journal    Company, Inc.   April 1 - 30, 2024
                                          Dow Jones &
TX 9-413-281   The Wall Street Journal    Company, Inc.   May 1 - 31, 2024
                                          Dow Jones &
TX 9-425-536   The Wall Street Journal    Company, Inc.   June 1 - 30, 2024
                                          Dow Jones &
TX 9-429-903   The Wall Street Journal    Company, Inc.   July 1 - 31, 2024
                                          Dow Jones &
TX 9-442-680          wsj.com             Company, Inc.   July 22 - July 31, 2024
                                          Dow Jones &
TX 9-436-972   The Wall Street Journal    Company, Inc.   August 1 - 31, 2024
                                          Dow Jones &
TX 9-445-492          wsj.com             Company, Inc.   August 1 - 31, 2024
                                          Dow Jones &
TX 9-447-215   The Wall Street Journal    Company, Inc.   September 1 - 30, 2024
                                          Dow Jones &
TX 9-444-230          wsj.com             Company, Inc.   September 1 - 30, 2024



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